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Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Ron Bender (SBN 143364)
Monica Y. Kim (SBN 180139)
Krikor J. Meshefejian (SBN 255030)
Levene, Neale, Bender, Yoo & Brill L.L.P.
10250 Constellation Blvd., Suite 1700
Los Angeles, CA 90067
(310) 229-1234 - tel
(310) 229-1244 - faxt
rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com


     Individual appearing without attorney
     Attorney for: Debtors and Debtors in Possession

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEYDIVISION
                                                                               DIVISION

 In re:                                                                      CASE NO.: 1:17-bk-12408-MB
IRONCLAD PERFORMANCE WEAR CORPORATION, A                                     CHAPTER: 11
CALIFORNIA CORPORATION; AND
                                                                                        STATEMENT REGARDING
IRONCLAD PERFORMANCE WEAR CORPORATION, A                                                 CASH COLLATERAL OR
NEVADA CORPORATION,                                                                 DEBTOR IN POSSESSION FINANCING
                                                                                        [FRBP 4001; LBR 4001-2]

                                                                             DATE:                 09/13/2017
                                                                             TIME:                 2:00 p.m.
                                                                             COURTROOM:            303
                                                                             ADDRESS:              21041 Burbank Blvd.
                                                              Debtor(s).                           Woodland Hills, CA



 Secured party(ies): RADIANS WAREHAM HOLDING, INC.


The Debtor has requested the approval of either (1) a motion for use of cash collateral, or postpetition financing, or both,
or (2) through a separately-filed motion, a stipulation providing for the use of cash collateral, or postpetition financing, or
both. The proposed form of order on the motion or the stipulation contains the following provisions or findings of fact: *FN
                                                                                                                           Page           Line No.
             Disclosures Tracking FRBP 4001(c)(1)(B)(i) through (xi) and (d)(1)(B)
                                                                                                                           No.:         (if applicable)
          (i): “[A] grant of priority or a lien on property of the estate under § 364(c) or (d)”                        Pages 10-13

          (ii): “[T]he providing of adequate protection or priority for a claim that arose before the Pages
          commencement of the case, including the granting of a lien on property of the estate         12-13
          to secure the claim, or the use of property of the estate or credit obtained under § 364
          to make cash payments on account of the claim”
                   Cross-collateralization, i.e., clauses that secure prepetition debt by postpetition
                   assets in which the secured party would not otherwise have a security interest
                   by virtue of its prepetition security agreement or applicable law
                   Roll-up, i.e., provisions deeming prepetition debt to be postpetition debt or using
                   postpetition loans from a prepetition secured party to pay part or all of that
                   secured party’s prepetition debt, other than as provided in § 552(b)
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                           Page 1                                           F 4001-2.STMT.FINANCE
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  Continued from page 1
              Grant a replacement lien in an amount in excess of the dollar amount of the lien
              on cash collateral as of the petition date
        (iii): “[A] determination of the validity, enforceability, priority, or amount of a claim that
                                                                                                                      Sec. 5.2
        arose before the commencement of the case, or of any lien securing the claim”
        (iv): “[A] waiver or modification of Code provisions or applicable rules relating to the
        automatic stay”
                Automatic relief from the automatic stay upon occurrence of certain events.
        (v): “[A] waiver or modification of any entity’s authority or right to file a plan, seek an
        extension of time in which the debtor has the exclusive right to file a plan, request the
        use of cash collateral under § 363(c), or request authority to obtain credit under § 364”
        (vi): “[T]he establishment of deadlines for filing a plan of reorganization, for approval of
        a disclosure statement, for a hearing on confirmation, or for entry of a confirmation
        order”
        (vii): “[A] waiver or modification of the applicability of nonbankruptcy law relating to the Pages
        perfection of a lien on property of the estate, or on the foreclosure or other               12-13
        enforcement of the lien”
        (viii): “[A] release, waiver, or limitation on any claim or other cause of action belonging                   Section
        to the estate or the trustee, including any modification of the statute of limitations or                     11.13
        other deadline to commence an action”
        (ix): “[T]he indemnification of any entity”
        (x): “[A] release, waiver, or limitation of any right under § 506(c)”                                         Section
               The granting of any lien on any claim or cause of action arising under § 506(c)                        8.15(b)
        (xi): “The granting of any lien on any claim or cause of action arising under §§ 544,
        545, 547, 548, 549, 553(b), 723(a), or 724(a)”
                                                                                                                         Page           Line No.
                         Additional Disclosures Required by LBR 4001-2
                                                                                                                         No.:         (if applicable)
        With respect to a professional fee carve out, disparate treatment for professionals
        retained by a creditors’ committee from that provided for the professionals retained by
        the debtor
        Pay down prepetition principal owed to a creditor
        Findings of fact on matters extraneous to the approval process




  09/11/2017         Monica Y. Kim                                                    /s/ Monica Y. Kim
  Date                      Printed Name                                                    Signature

*FN
References to Page Numbers are to the proposed Interim Order authorizing the post-petition financing and use of cash
collateral. References to Sections are to the Debtor-in-Possession Credit Agreement and Agreement for the use of cash
collateral attached to the Motion for Authority to Obtain Post-petition Financing and use of Cash Collateral.




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 1
                                   PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 3
     A true and correct copy of the foregoing document entitled STATEMENT REGARDING CASH
 4   COLLATERAL OR DEBTOR IN POSSESSION FINANCING [FRBP 4001; LBR 4001-2] will be served
     or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
 5   in the manner stated below:
 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On September 11, 2017, I checked the CM/ECF docket for this bankruptcy
     case or adversary proceeding and determined that the following persons are on the Electronic Mail
 8   Notice List to receive NEF transmission at the email addresses stated below:

 9            Ron Bender rb@lnbyb.com
              S Margaux Ross margaux.ross@usdoj.gov
10            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
              Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
11
     2. SERVED BY UNITED STATES MAIL: On September 11, 2017, I served the following persons
12   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
     true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
13   and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
14
                                                                             Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
16   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
     on September 11, 2017, I served the following persons and/or entities by personal delivery, overnight
17   mail service, or (for those who consented in writing to such service method), by facsimile transmission
     and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
18   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

19   Served via Attorney Service
     Hon. Martin R. Barash
20   United States Bankruptcy Court
     21041 Burbank Boulevard, Suite 342
21   Woodland Hills, CA 91367

22                                                                            Service List served by Overnight Mail attached

23   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
24
      September 11, 2017                    Stephanie Reichert                          /s/ Stephanie Reichert
25    Date                                  Type Name                                   Signature

26
27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Served by Overnight Mail:

  Ironclad Performance Wear (8300)     United States Trustee                  U. S. Securities and Exchange
  OUST, Secured & Top 20               915 Wilshire Blvd., Suite 1850         Commission
                                       Los Angeles, California 90017          Attn: Bankruptcy Counsel
                                                                              444 South Flower Street, Suite 900
                                                                              Los Angeles, CA 90071-9591

  Secured Creditor                     Counsel to Radians Wareham Holdings    Counsel to Radians Wareham Holdings
  Radians Wareham Holding, Inc.        E. Franklin Childress, Jr.             Sharon Z. Weiss
  Attn: Mike Tutor, CEO                Baker, Donelson, Bearman, Caldwell &   Bryan Cave
  5305 Distriplex Farms                Berkowitz, PC                          120 Broadway, Suite 300
  Memphis, TN 38141                    165 Madison Ave, Suite 2000            Santa Monica, CA 90401
                                       Memphis, Tennessee 38103



  Top 20 Unsecured Creditors:



  Advantage Media Services, Inc.       Danny Negara                           Eliza Yang
  Attn: Steven Helmle                  Mercindo Global Manufaktur             Nantong Changbang Gloves Co.
  29010 Commerce Center Drive          Jl. Raya Semarang-Bawen Km.29          Flat/RM 1602 Chit Lee Comm
  Valencia, CA 91355                   SEemerang, Central Java                Bldg 30-36, Shau Kei Wan Road
                                       50661, Indonesia                       Hong Kong, China

  Gerard                               Kwong                                  Mark Robba
  BDO USA, LLP                         PT JJ GLOVES INDO                      PT SPORT GLOVE INDONESIA
  P. O. BOX 677973                     JL Ronggowarsito, Mlese, Ceper         Krandon Desa Pandowoharjo
  Dallas, TX 75267-7973                Bonded Zone, Klaten                    Sleman
                                       Central Java, Indonesia, 57463         Yogyakarta, Indonesia, 55512

  Daniel Gomes                         Brent Waters                           Skadden Arps Slate Meagher & Flom
  Capital One Bank                     Resources Global Professionals         LLP
  P. O. BOX 1917                       P.O. Box 740909                        P O Box 1764
  Merrifield, VA 22116-1917            Los Angeles, CA 90074-0909             White Plains, NY 10602


  Carol Pearson                        Risk Consulting Partners               Robert Tejeda
  FedEx                                24722 Network Place                    Stubbs, Alderton & Markiles, LLP
  PO Box 7221                          Chicago, IL 60673-1247                 15260 Ventura Blvd
  Pasadena, CA 91109-7321                                                     20th Floor
                                                                              Sherman Oaks, CA 91403

  Ms. Vicz Yue                         Shur-Sales & Marketing, Inc.           John Calhoun
  Ka Hung Glove Inustrial Co. Ltd.     3830 S Windermere St.                  Synetra
  Fujian Quanzhou Jiacheng Leather     Englewood, CO 80110                    1110 E. State Highway 114
  Chi Feng Road, Quanzhou City                                                Suite 200
  Fujian, 362000, China                                                       Southlake, TX 76092


  Sky Lin                              Carla Durand                           Bradley J. S. Weiss
  Marusan - Mimasu Tshusho Co. Ltd.    University of Milwaukee                Winspeed Sports Shanghai Co., Ltd.
  No 1 Queen' Road Central             P O Box 500                            858 Mingzhu Road
  Hong Kong                            University of Wisconsin - Milwaukee    Shanghai
  China                                Milwaukee, WI 53201                    China, 00020-1702

  Janice Lee                           Liliana Dominguez                      1920 Hutton Court
  Woneel Midas Leathers                Yellow and Roadway                     Attn: Johnny Clark
  Jl Gembor Raya Desa Pasirjaya        P. O. Box 100129                       Inwood National Bank
  Tangerang                            Pasadena, CA 91355                     P O Box 857413
  Banten, Indonesia, 15135                                                    Richardson, TX 75085
